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                             Daniel H. Burnham and Chicago’s Parks
                             by Julia S. Bachrach, Chicago Park District Historian
                                                In 1909, Daniel H. Burnham (1846 – 1912) and Edward Bennett
                                                published the Plan of Chicago, a seminal work that had a major
                                                impact, not only on the city of Chicago’s future development, but
                                                also to the burgeoning field of urban planning. Today, govern-
                                                ment agencies, institutions, universities, non-profit organizations
                                                and private firms throughout the region are coming together 100
                                                years later under the auspices of the Burnham Plan Centennial
                                                to educate and inspire people throughout the region. Chicago
                                                will look to build upon the successes of the Plan and act boldly to
                                                shape the future of Chicago and the surrounding areas. Begin-
                                                ning in the late 1870s, Burnham began making important contri-
                                                butions to Chicago’s parks, and much of his park work served as
                                                the genesis of the Plan of Chicago. The following essay provides
Daniel Hudson Burnham from a painting           a detailed overview of this fascinating topic.
by Zorn , 1899, (CM).



Early Years
Born in Henderson, New York in 1846,
Daniel Hudson Burnham moved to Chi-
cago with his parents and six siblings in
the 1850s. His father, Edwin Burnham,
found success in the wholesale drug busi-
ness and was appointed presidet of the
Chicago Mercantile Association in 1865.
After Burnham attended public schools in
Chicago, his parents sent him to a college
preparatory school in New England. He
failed to be accepted by either Harvard or
                                                 Plan for Lake Shore from Chicago Ave. on the north to Jackson Park on the South , 1909, (POC).
Yale universities, however; and returned
home in 1867.
                         Burnham worked          ber of the United States Sanitary Commis-
                         briefly in business     sion. Olmsted, who is now considered the
                         and politics, and       nation’s most famous landscape architect,
                         then became an          had created the original plan for New York
                         apprentice in the       City’s Central Park only a few years ear-
                         architectural office    lier. In 1868, he and his partner Calvert
                         of Jenney & Lor-        Vaux designed Riverside, Illinois; the first
                         ing. The firm was       planned community in America. Jenney
                         established by one      had settled in Chicago after the Civil War,
                         of Chicago’s most       and Olmsted and Vaux hired him as the
                          influential archi-     project architect to design buildings for
                                                 Riverside and to oversee the implementa-              Rendering of Lincoln Park Bridge, ca.
Burnham at age nineteen,  tects and land-                                                              1880, (CPDSC).
CM.                       scape designers,       tion of its naturalistic landscape.
                          William Le Baron                                                         assignments was to take dimensions and
Jenney (1832 – 1907). Trained in archi-          Jenney would soon go on to produce the            make sketches of bridges in Lincoln Park.
tecture and engineering in Paris, Jenney         original plans for Chicago’s West Park            Burnham reported, “It is very engaging
had served as an engineering officer dur-        System, which includes today’s Humboldt,          work and I enjoy it.” Not long after-
ing the Civil War. While at Vicksburg,           Garfield, and Douglas parks. Jenney also          wards, he wrote, “I shall try to become
Jenney met Frederick Law Olmsted Sr.             designed buildings and structures in Lin-         the greatest architect in the city or the
(1832 – 1902) who was there as a mem-            coln Park. In fact, when Burnham began            country.”
                                                 to train in Jenney’s office, one of his first
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John W. Root, n.d. (CM).


After the apprenticeship, Burnham moved
to Nevada to try his hand at silver mining.
When this venture failed, he returned to
Chicago and worked briefly for several
architects including John Van Osdel. In
1872, the firm of Carter, Drake & Wight
hired Burnham as a draftsman, a position
that proved extremely significant to his
future career. One of the partners, Peter B.
Wight became a supportive mentor who
helped Burnham develop his drawing
skills. At the firm, Burnham met a young
and talented architect, John Welborn Root
(1850 – 1891), who would play an even          Above:
                                               Olmsted and Vaux’s Original Plan
greater role in his career and life. Born in   of South Park, 1871, (CPDSD).
Georgia, Root moved to England during
the Civil War. After studying architecture
and engineering in England and America,
                                               To the Right:
he worked for several architects in New        Burnham and Root ‘s Jackson Park
York including Wight. Root followed            Bridge now known as the Clarence
Wight from New York to Chicago and             Darrow Bridge, ca. 1893, (OA).
became head draftsman for Carter, Drake
& Wight. Burnham and Root formed a
close friendship and the two decided to
form their own partnership in 1873.            state legislation in 1869, the South Park   and bronze and had two tiers of water
                                               Commission (SPC) was responsible for        cascading and soft colored lights to emu-
After several lean years, Burnham & Root       creating and managing a 1055-acre park      late “perpetual moonlight.” The dark
received an important commission in 1875.      and a ribbon of boulevards that would       stone Gothic Revival style phaeton stand
John Sherman (1825 – 1902), founder of         connect with Lincoln Park and the West      was compared to a similar structure in
Chicago’s Union Stock Yards, hired the         Park System. Olmsted laid out the origi-    New York’s Central Park.
young architects to design his new home        nal plan for South Park, which included
on Prairie Avenue, then one of the city’s      the Eastern Division (later renamed Jack-   Burnham & Roots iron and stone bridge
most fashionable streets While working on      son Park), Western Division (Washington     spanned over an arm of Jackson Park’s
the project, Burnham fell in love with         Park), and the Midway Plaisance, a broad    North Pond (also called the Columbia
Sherman’s daughter, Margaret, and the two      tree-lined boulevard between the two        Basin) that connected with the East and
were married in the new house in January       large landscapes.                           West Lagoons. The 1879-1880 Annual
of 1876. The success of the design project                                                 Report of the South Park Commissioners
and prominence of the Sherman family           Soon after Sherman’s appointment, Burn-     described the bridge construction as
quickly brought attention and new clients      ham & Root began receiving work from        among the “most important work” in the
to the firm.                                   the SPC. Among their earliest projects      park. Although the decking was later
                                               were a fountain and a phaeton (horse-       changed, the elegant masonry structure
Burnham & Root and the South Park              drawn carriage) depot on Oakwood            remains. In 1957, the bridge was offi-
Commission                                     Boulevard near Washington Park, and a       cially named in honor of Chicago’s noto-
Sherman became a member of the South           bridge in Jackson Park. According to the    rious lawyer Clarence Darrow (1857 –
Park Board of Commissioners in 1878.           Chicago Daily Tribune (July 27, 1879),      1938) who lived nearby and had his ashes
One of three park districts chartered by       the fountain was composed of cut stone      scattered in the North Pond.
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Burnham & Root also designed Washing-
ton Park’s stables and roundhouse, an im-
pressive structure composed of Joliet
Limestone. Completed in 1880, this is cur-
rently the oldest existing building in the
park. It originally provided facilities to
stable approximately 60 horses, and space
for the storage of phaetons and sprinkling
carts. The commissioners later remodeled
the building to accommodate more than
100 horses. Even after the automobile
became popular, the stables housed horses
used by the mounted police, supply and
delivery wagons, street sweeping and
sprinkling, and the University of Chicago’s
artillery unit. In the 1930s, the Chicago
                                                           Washington Park Stables and Roundhouse, 2003.
Park District began using the roundhouse
as a central storage facility for costumes,
sets, and props for the drama programs
throughout the system. Today, the Du-
Sable Museum of African American His-
tory has plans to rehabilitate the building
as part of an expansion program.

Another early masonry building designed
by Burnham & Root no longer exists.
Originally called the Jackson Park Shelter,
it was built near 56th Street overlooking the
lakefront in 1888. The granite structure
had a slate roof and included a large open
shelter with a dance floor and an attached
turret. Available to park patrons in the
daytime and evenings during warm sea-                      Jackson Park Shelter, ca. 1910, (CPDSC).
sons, the shelter could be reserved and
used free of charge. In 1893 the shelter
was expanded and transformed into the
Iowa State Building for the World’s Co-
lumbian Exposition. The Chicago Park
District razed the original building in 1936
when South Lake Shore Drive was wid-
ened. (Shortly thereafter, a nearby lime-
stone shelter was named in honor of the
old Iowa Building.)

The last building produced by the Burn-
ham & Root partnership for the SPC was
the Washington Park Refectory. The firm
designed this classically inspired building
in 1891. Constructed the following year,                   Washington Park Refectory, 2003.
the buff colored Roman brick building has
a hipped roof with four square rooftop tow-
                                                 In its early years, the building provided re-    eled the building in the 1930s when
ers that rise above the roofline. At the first
                                                 freshment rooms, a kitchen, and administra-      adjacent swimming pools were added.
story level, the east and west facades ex-
                                                 tive office space for the South Park Com-        The facility underwent a major rehabili-
tend into a lower wing with a shallow
                                                 missioners. Among the Refectory’s fine           tation project in the early 1990s.
hipped roof. Along the north, east, and
                                                 original interior features was a mosaic floor.
west facades of the first story level, an
                                                 Created by Murdoch, Campbell & Co., the
open loggia is edged by colonnades of
                                                 mosaic tiling lined the vestibule and refresh-
Doric white terra cotta columns.
                                                 ment rooms of the first floor. (Today, a
                                                 small remnant has been preserved and is on
                                                 display.) The Chicago Park District remod-
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World’s Columbian Exposition
When the United States Congress officially
selected Chicago as the site of the World's
Columbian Exposition in 1890, Burnham
and Root were named the consulting archi-
tects and Olmsted as the consulting land-
scape architect for the Fair. Olmsted rec-
ommended Jackson Park as the site for the
fairgrounds because of its largely unfin-
ished condition and its proximity to Lake
Michigan. He believed that lake would
provide a dramatic backdrop and would
serve as an inspiration for the design of the
entire campus. The architects soon began
working with Olmsted and his associate
Henry Codman to develop a general
scheme for the fairgrounds.




Unimproved Jackson Park site before the
World’s Columbian Exposition, ca. 1890, (OA).

                                                Map of the World’s Columbian Exposition,
Olmsted later explained that during an          1893, (CPDSC).
early design meeting:
                                                sign the Fair’s buildings. After receiving
  "...a crude plot, on a large scale,           criticism for not including any local ar-
  of the whole scheme was rapidly               chitects, they added several important
  drawn on brown paper... The                   Chicago firms such as Adler & Sullivan
  plot, formed in the manner de-                and Jenney and Mundie.
  scribed, contemplated the follow-
  ing as leading features of design:            In January of 1891, Root died suddenly
  That there should be a great ar-              of pneumonia. Despite mourning the loss
  chitectural court with a body of              of his friend and partner, Burnham had
  water therein; that this court                to continue rapidly with planning the
  should serve as a suitably digni-             Fair as its chief of construction. Later,    Court of Honor Looking East, 1893, (FBV).
  fied and impressive entrance-hall             his title changed to director of works.
  to the Exposition, and that visi-             Working with Olmsted, the World’s Fair
  tors arriving by train or boat                architects, gifted artists such as painter
  should all pass through it; that              Francis D. Millet, and many sculptors
  there should be a formal canal                including Augustus St. Gaudens, Lorado
  leading northward from this                   Taft, and Daniel Chester French, Burn-
  court to a series of broader wa-              ham transformed the raw lakefront site
  ters of a lagoon character, by                into a gleaming “White City.” It had
  which nearly the entire site                  magnificent waterways lined with Beaux
  would be penetrated, so that the              Arts style buildings made of a temporary
  principal Exposition buildings                plaster material known as staff. The
  would each have a water as well               most iconic part of the design was the
  as land frontage, and would be                Court of Honor with French’s monolithic
  approachable by boats..." (from:              gilded Statue of the Republic at the east-
  World's Columbian Exposition                  ern end. In contrast with the formal char-
  Report of the Director of Works               acter of the fairgrounds, the Wooded
  1892, 4-5).                                   Island was a lush naturalistic landscape
                                                with ancient native oaks, and masses of
Burnham & Root selected a group of the          other newly planted trees and shrubs,              Statue of the Republic, c. 2005.
nation’s most significant architects to de-     many of which were native species.
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More than 27 million visitors attended the
World's Columbian Exposition during a
six-month period which ended in late Oc-
tober of 1893. The intent had always been
for the Fair to be temporary, and the South
Park Commissioners soon began efforts to
turn the site back into parkland. In January
of 1894 a series of fires destroyed many of
the plaster structures. Later that year, the
Chicago Wrecking and Salvage Co. demol-
ished most of the remaining buildings. An
exception, however, was the Fine Arts Pal-
ace. It had been built with a fire-vaulted
interior. Due to its more permanent inter-
nal structure, Burnham and the commis-
                                                        South façade of Museum of Science and Industry, c. 2005.
sioners decided to retain the building. De-
partment store magnate Marshall Field
gave $1 million to purchase anthropologi-       oped throughout the area and the South          firm, which had been formed by Olmsted
cal artifacts that had been exhibited at the    Park Commissioners and General Super-           Sr.’s stepson John Charles Olmsted (1852
exposition. They were soon housed in the        intendent J. Frank Foster believed that a       – 1920) and son, Frederick Law Olmsted,
old Fine Arts Palace, which became the          new type of park could provide breathing        Jr. (1870 – 1957), responded with a de-
“Field Columbian Museum.” In the late           spaces and serve as vehicles of social          tailed letter with landscape design recom-
1920s, an even larger donation from busi-       reform for these neighborhoods.                 mendations. Burnham also had great in-
nessman and philanthropist Julius Rosen-                                                        terest in the project, but at the time he was
wald funded the transformation of the then      In 1901, the South Park Commissioners           awaiting the arrival of Edward H. Bennett
vacant “Columbian Museum” into the Mu-          acquired a 34-acre site near the stock-         (1874 – 1954) a young and talented archi-
seum of Science and Industry.                   yards to create an experimental neighbor-       tect who would come from New York to
                                                hood park. Named in honor of President          join his firm and head the project.
Olmsted’s firm, then called Olmsted, Olm-       William McKinley, the site was improved
sted, and Eliot, created a new plan in 1895     with ball fields, playgrounds, swimming         Foster suggested that in addition to the
to return the fairgrounds back into park-       and wading lagoons complete with chang-         ball fields, swimming facilities, and play-
land. The plan continued to incorporate         ing rooms. The park proved to be such a         grounds that had been tested in McKinley
interconnected lagoons, and accommodate         great success, that when the SPC held its       Park, the new parks should also provide a
boating. Burnham’s architectural office,        formal dedication the following summer,         variety of other features. These included
which had become known as D.H. Burn-            more than 10,000 people attended.               separate outdoor gymnasiums for men
ham & Co. following Root’s death, contin-                                                       and women, running tracks, children’s
ued working for the SPC. As part of the         Foster and the commissioners soon began         sand courts, and a new type of building,
Jackson Park redesign, the firm produced        developing plans for a more ambitious           the field house. Based on the precedent
plans for two classically-inspired boat         system of neighborhood parks that would         of Chicago’s settlement houses, these
houses that were built along the shore of       provide recreational programs and social        innovative park buildings would provide
the West Lagoon in 1896 and 1906. The           services and open space to the densely          athletic, educational, recreational pro-
first one served as a principal station for     populated neighborhoods throughout their        grams and social services throughout an
rowboats and canoes while the other pro-        district. In 1903, they contacted the Olm-      entire year. This was particularly useful
vided an electric launch station. Neither       sted Brothers and D.H. Burnham & Co. to         because Chicago’s cold climate had tradi-
structure exists today.                         solicit some general design ideas for the       tionally limited park use from early spring
                                                proposed parks. The Olmsted Brothers            to late fall.
Neighborhood Parks Movement
At the turn of the century, the South Park
Commissioners hired Burnham & Co. and
the Olmsted Brothers to create an innova-
tive system of new parks for overcrowded
tenement districts within their jurisdiction.
The city had recently experienced tremen-
dous industrial growth and the population
was surging. In 1869, when the original
park commissions were formed, Chicago
had 300,000 residents. By 1900, that fig-
ure had increased to 1.7 million, and nearly
750,000 people were living about a mile
away or farther from any park. Deplorable
living and working conditions had devel-        Cornell Square, 1905, (CPDSC).
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                                                 To the Left:
                                                 Davis Square children
                                                 receiving bathing suits,
                                                 1905, (CPDSP).



                                                 To the Right:
                                                 “Typical” field house
                                                 Library, 1905, (CPDSC).




The original system of new parks included       The building material selected for nearly     five million times.
six considered squares because they were        all of the field house complexes was ex-      It became quickly apparent that the new
less than 10-acres in size and eight referred   posed aggregate concrete. From this ma-       South Side parks would provide a model
to as small parks because they were larger      terial, which was also known as               for the entire country. Burnham & Co.
than 10-acres. The design for each of the       “marblecrete” or "popcorn concrete,”          and the Olmsted Brothers had national
14 parks was to include the program com-        buildings could be constructed quickly,       reputations and both firms presented the
ponents conceived by Foster. Although           relatively inexpensively, and ornamenta-      Chicago prototype to professionals and
every plan incorporated comparable fea-         tion could be molded directly into fa-        clients in many other American cities In
tures and basically followed a prototypical     cades. Although the buildings relied on       1907, when Chicago hosted the Play-
scheme, the Olmsted Brothers believed it        classical details, the material allowed for   ground Association of America’s first
important to give each park its own indi-       a visible expression of the small pieces of   annual conference President Theodore
vidual design. Similarly, Bennett drew          aggregate, and the rough-cast character       Roosevelt recommended that park admin-
influence from the classicism of the            required that details be rendered in a sim-   istrators throughout the country should
World’s Columbian Exposition, while cre-        plified vocabulary devoid of intricacies.     come to “… see the magnificent system
ating a uniquely designed architectural                                                       that Chicago has erected in its south park
complex for each park.                                                                        section, one of the most notable civic
                                                By late fall of 1905, the first 10 new
                                                neighborhood parks had been built and         achievements in any American city.”
When Bennett joined the project, he en-         opened to the public      These included
tered an undefined area in architecture.        Armour, Russell, Cornell, Mark White          In 1911, the Fuller Park field house com-
Although Burnham’s firm already had a           (later renamed McGuane), and Davis            plex opened to the public. Although this
long and productive relationship with the       squares, as well as Sherman, Hamilton,        was the last neighborhood park that the
SPC, earlier park structures provided func-     Ogden, Bessemer, and Palmer parks. The        D.H. Burnham & Co. had designed in
tions that were quite unlike those of a field   remaining four properties— Marquette,         Chicago, the SPC continued creating
house. Until this time, structures tended to    Fuller (originally intended as a square)      similar field houses for many years to
have a single utilitarian purpose such as a     and Calumet parks, and Hardin Square          follow. Today, a number of the Burn-
stables or a conservatory, and many park        were delayed for various reasons. The ten     ham-designed field houses retain historic
buildings such as a refectory (a party-         finished parks were extremely well re-        integrity including Davis, Armour, and
building) were opened only during warm          ceived. In fact, by the end of 1906 hun-      Cornell Squares; Sherman, Hamilton,
weather. Inspired by Chicago’s settlement       dreds of thousands of people from con-        Bessemer, and Palmer parks; as well as
house movement, the new field houses            gested south side neighborhoods had col-      Fuller Park, which has more of its original
offered a variety of functions within a sin-    lectively visited these parks more than       architectural fabric than any of the others.
gle architectural complex. The buildings
included indoor gymnasiums, allowing for
year-round active recreation in the parks
for the first time. Shower rooms with lock-
ers and changing facilities and outdoor
swimming pools would provide many resi-
dents of the surrounding neighborhoods
greatly-needed access to public bathing.
As the field houses also had clubrooms,
auditoriums and some of the earliest
branches of the Chicago Public Library,         Above:
the facilities also served as social and edu-   Cornell Square, 2005.
cational centers for their communities.
                                                To the Right:
                                                Fuller Park, 2008.
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Burnham’s Plans for Grant Park
As Burnham and Bennett were designing
                                                                                                                To the Right:
innovative field houses for tenement                                                                            Olmsted Brothers Re-
neighborhoods on the South Side, they also                                                                      vised Preliminary Plan of
continued to focus on downtown. In the                                                                          Grant Park, 1908,
                                                                                                                (CPDSC).
1880s, Burnham & Root had produced
some of the world’s first skyscrapers such
as the Montauk and the Rookery buildings                                                                        Below:
in Chicago’s Loop. After Root’s death,                                                                          Landfill and Field Mu-
                                                                                                                seum of Natural History,
D.H. Burnham & Co. made new contribu-
                                                                                                                ca. 1920, (CPDSC).
tions to the Chicago School of Architecture
with the Reliance and Railway Exchange
buildings and other noteworthy skyscrap-
                                              Burnham and At-
ers. Burnham’s interests, however, went
                                              wood’s preliminary
much beyond these significant downtown
                                              plan for Lake Park
buildings. In the mid 1890s, along with
                                              (soon to be named
many prominent Chicago businessmen,
                                              Grant Park) emulated
representatives of the City of Chicago, the
                                              the “White City” on a
SPC, and other high profile designers,
                                              smaller scale.    They
Burnham began developing plans for Lake
                                              placed a monumental
Park (also called Lake-Front Park, and
                                              neo-classical Field
later renamed Grant Park.)
                                              Museum as the center-
                                              piece, symmetrically
A City Council subcommittee formed in
                                              surrounding it with
1895 to consider enlarging the downtown
                                              many smaller structures including a per-     the idea, and hired the Olmsted Brothers
park by adding more landfill, a practice
                                              manent exposition building for the City of   to help Burnham fully develop this
that had begun decades earlier. There was
                                              Chicago. In 1895, Burnham and Atwood         scheme. The South Park Commissioners
one existing museum in the park— the Art
                                              presented the scheme to the subcommit-       intended to move swiftly to improve
Institute of Chicago which had recently
                                              tee. According to the Chicago Tribune        Grant Park following Burnham’s recom-
occupied the former World’s Congresses
                                              this would provide a “speedy transforma-     mendations, however; they faced a major
Building, the only World’s Fair structure
                                              tion of the Lake-Front into a beautiful      impediment. Mail order magnate Aaron
that had not been built in Jackson Park.
                                              park, with splendid buildings, large play    Montgomery Ward had waged a series of
Although the Field Columbian Museum
                                              grounds, noble statuary, graveled walks,     legal battles to protect Grant Park’s green
had only recently opened in Jackson Park,
                                              macadamized drives,” and a reproduction      space and open views based on early land
there was already strong consensus that the
                                              of the fair’s huge decorative fountain by    restrictions to keep the site “free and clear
institution should erect a permanent mu-
                                              sculptor Frederick MacMonnies.               of buildings” and other major obstruc-
seum in Lake Park. A new Crerar Library
and Illinois National Guard building were                                                  tions. The lawsuits delayed construction;
                                              During this period, other prominent de-      however, landfill operations continued to
also being considered for the park as well
                                              signers and organizations suggested alter-   enlarge the size of Grant Park.
as a new city hall and other municipal
                                              native schemes that would include new
buildings. Burnham and Charles Atwood,
                                              buildings, while also retaining the open     Many Chicagoans blamed Ward for Grant
a talented architect on his staff who had
                                              views of Lake Michigan. Interestingly,       Park’s raw and unfinished appearance
helped design the World’s Fair grounds,
                                              Burnham’s early mentor, Peter B. Wight       over a long period of time. In a rare inter-
began developing a new plan for Chicago’s
                                              helped develop one of these alternative      view that he gave to the Chicago Tribune
“Front Yard.”
                                              plans on behalf of the Municipal Im-         in 1909, he voiced frustration about the
                                              provement League. This proposal, which       lack of public support for protecting the
                                              also made strong reference to the World’s    open space. He said, “Had I known in
                                              Columbian Exposition design, relied on a     1890 how long it would take me to pre-
                                              large “Court of Honor” basin as the center   serve a park for the people against their
                                              piece, and placed the proposed buildings     will, I doubt if I would have undertaken
                                              along the edges.                             it.” Ward also explained, “I fought for
                                                                                           people of Chicago, not the millionaires…
                                              Between 1896 and 1903, the City had          Here is park frontage on the lake, compar-
                                              transferred ownership of the entire Lake     ing favorably with the Bay of Naples,
                                              Park site to the SPC and renamed it to       which city officials would crowd with
                                              honor Ulysses S. Grant. Burnham contin-      buildings, transforming the breathing spot
                                              ued developing his vision for Grant Park     for the poor into a showground of the
Art Institute of Chicago, c. 2005.            as a formal Beaux Arts style landscape       educated rich.” At the time, the park re-
                                              with the Field Museum as the centerpiece.    mained unimproved as the battle contin-
                                              The South Park Commissioners supported       ued in the courts.
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Burnham’s Vision for Green Space and
the Plan of Chicago
While developing ambitious plans for Chi-
cago’s
.       “Front Yard,” Burnham also began
envisioning a magnificent stretch of new
parkland between Grant and Jackson parks.
For this new lakefront green space, Burn-
ham suggested a series of manmade is-
lands, lagoons and harbors, beaches, mead-
ows, and playfields. The SPC called the
project the "Outer Park Boulevard," or the
“South Shore Development.” Burnham
briefly suggested this addition to the lake-
front as an exclusive residential develop-
ment, but soon decided that it should be a
public park, a "playground for the people."
The linear green space would have a scenic
drive with a series of attractive rustic
bridges crossing the lagoons at regular
intervals would buffer views of the Illinois
Central railroad. Burnham believed that
this new waterway would compare favora-
bly with “the Thames, the Seine, and the
canals of Venice.”

                                                 General map showing topography, waterways, and complete system of streets, boulevards, and
                                                 parks, 1909, (POC).

                                                 The Plan of Chicago envisioned improve-        be overcome. While the South Park
                                                 ments to the lakefront stretching from         Commissioners attempted to secure the
                                                 Chicago’s northern suburbs south to the        rights to enlarge the lakefront, A. Mont-
                                                 edge of Indiana. It also addressed the         gomery Ward continued his legal battle to
                                                 western perimeter of the region by recom-      preserve Grant Park as green space.
                                                 mending the preservation of forested           Ward won his final lawsuit in the Illinois
                                                 lands in these areas. In 1904, architect       State Supreme Court in December of
                                                 Dwight Perkins and landscape architect         1910, thus preventing the SPC from mov-
View looking over the lagoons of the proposed    Jens Jensen had produced a detailed re-        ing ahead with any of their existing plans
park for the South Shore, painted for the Com-   port recommending the protection of            for Grant Park. Negotiations with the
mercial Club by Jules Querin, 1909, (POC).       valuable acreage along the Skokie Valley,      ICRC resulted in an alternative site for the
                                                 Des Plaines River, Salt Creek, and Lake        proposed Field Museum as well as an
After Edward H. Bennett joined the firm,         Calumet. The Cook County Board tried           opportunity to move forward with the
he assisted on the lakefront plans. These        to move swiftly to acquire land for the        lakefront expansion. The ICRC agreed to
proposals served as the genesis for Burn-        new “Outer Belt Park Commission,” how-         surrender its rights to the submerged
ham and Bennett’s 1909 Plan of Chicago,          ever, there were legal impediments.            lands south of 12th Street in exchange for
a seminal document which was beautifully         Burnham agreed that forest preserves           expanding its right-of-way between 12th
illustrated by Jules Guerin. In a caption to     were extremely important to the region.        Street and Jackson Park. This allowed the
one of Guerin’s drawings of the new lake-        By incorporating Perkins’ and Jensen’s         South Park Commission to begin creating
front green space south of Grant Park, the       recommendation into the Plan of Chi-           new landmass along the south edge of
planners explained the practicality of creat-    cago, Burnham brought wider public sup-        Grant Park. This landfill would provide
ing new acreage from landfill: “This park        port for saving the valuable forest lands,     the site for the Field Museum as well as
may be built almost without cost to the          though legal difficulties delayed the for-     the beginnings of the vast new lakefront
people of Chicago, by making use of the          mation of the Cook County Forest Pre-          park that would extend south to Jackson
excavated material and general wastage           serves for many years.                         Park. Burnham produced revised plans
from the city. This material aggregates at                                                      for the neo-classical museum building in
the present moment an amount sufficient to       The SPC’s goal to realize Burnham’s rec-       1911, the year before his death. The Field
fill as many as twenty-two acres per an-         ommendations for expanding the lake-           Museum of Natural History finally
num. In this manner Grant Park has al-           front had similar legal impediments. The       opened to the public from its new site at
ready been created, and its extension down       fact that the Illinois Central Railroad        the south end of Grant Park 1921.
to the south shore will only be a question       Company (ICRC) held the rights to much
of time.”                                        of the submerged lands along the lake-
                                                 front between 12th and 50th streets had to
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In 1913, the Chicago Plan Commission
hired Bennett as its first consulting archi-
tect to help implement the visionary Plan
of Chicago. A few years later, the SPC
hired his firm of Bennett, Parsons, Frost,
and Thomas to develop revised plans for
Grant Park. The firm’s final scheme paid
homage to Burnham’s vision while re-
specting the park’s open character. Ren-
dered in the French Renaissance style, the
plan relied on formal symmetry and out-
door room-like spaces defined by tree
allées. Bennett envisioned a large orna-
mental fountain as the centerpiece of the
park and the alternative to the Field Mu-
seum in that location. Inspired by the La-            Rendering of Bennett, Parsons, Frost and Thomas proposed plan of Grant Park, ca. 1924.
tona Basin at Versailles, Bennett designed
the fountain with French sculptor Marcel
Loyau and engineer Jacques H. Lambert.
Chicago philanthropist and art patron, Kate
Sturges Buckingham, donated $1 million
dollars for the fountain, which she dedi-
cated to the memory of her brother, Cla-
rence. The iconic Buckingham Fountain
Memorial Fountain was completed in
1927.

During the 1920s, much progress was also
made towards realizing the ambitious
stretch of parkland that would extend be-      Latona Basin at Versailles, France, ca. 2008     Clarence Buckingham Memorial Fountain, ca.
                                                                                                2008.
tween Grant and Jackson parks. All of the
necessary government approvals were fi-
nalized in 1920. Voters approved a $20
                                               Fair’s Director of Works and Edward H.          After a fire destroyed the original hall in
million bond issue to create the park. An-
                                               Bennett served on the Architectural Com-        1967, citizens rallied for the relocation of
other bond issue that was passed by the
                                               mission. The Adler Planetarium and As-          McCormick Place away from the lake-
public in 1922 allowed the South Park
                                               tronomy Museum, one of the first perma-         front. The relocation never occurred,
Commissioners to move forward with a
                                               nent planetariums in the world, opened on       however, and the controversy fueled a
stadium that had been previously proposed
                                               Northerly Island in 1930 as the Fair con-       public movement leading to the adoption
by Burnham and Bennett.          Architects
                                               struction was underway. For two full            of the milestone Lakefront Protection
Holabird and Roche designed the neo-
                                               seasons, more than 38 million fairgoers         Ordinance in 1973. This vision of an
classical stadium dedicated to World War I
                                               enjoyed the rides, spectacles, exhibits,        uncompromised open lakefront continues
soldiers in 1925. Two years later, landfill
                                               and other attractions of A Century of Pro-      today as the Chicago Park District plans
operations continued moving south and the
                                               gress. Today, remaining elements of the         to enhance public opportunities to com-
South Park Commissioners named the par-
                                               Fair include the Columbus monument in           mune with nature along Northerly Island,
tially finished site in honor of Daniel H.
                                               Grant Park, the Balbo monument in Burn-         Burnham Park, and the entire lakefront.
Burnham.
                                               ham Park, and the Japanese Garden,
                                               which was moved from Burnham Park to            Key
In 1929, the Shedd Aquarium was opened
                                               Jackson Park’s Wooded Island in 1935.           CPDSC – Chicago Park District Special
to the public. Its Beaux Arts style harmo-
                                                                                               Collections
nized with nearby Field Museum and Sol-
                                               After the Fair, a committee formed in           POC— Plan of Chicago, Daniel H. Burn-
dier Field. Although the onset of the Great
                                               hopes of developing Burnham Park as a           ham and Edward H. Bennett, Commercial
Depression had initially slowed the efforts
                                               permanent exposition grounds. As a re-          Club of Chicago, 1909
to build Burnham Park, progress was swift
                                               sult, a two-season Railroad Fair took           OA- Olmsted Archives, Frederick Law
after much of the site was designated as the
                                               place in the park in the 1940s, marking         Olmsted National Historic Site
campus for Chicago’s second World’s
                                               the centennial of Chicago’s first locomo-       CM- Daniel H. Burnham: Architect Plan-
Fair. Paying tribute to Chicago’s centen-
                                               tive. The push for the site as permanent        ner of Cities, Charles Moore, 1921.
nial, A Century of Progress took place on
                                               fairgrounds ultimately led to the construc-     FBV— Fotografiske Billeder af Verden-
Northerly Island and the newly filled
                                               tion of McCormick Place in 1960s. This          sudstillingen of Midway Plaisance, 1894.
mainland between 12th and 39th streets for
                                               happened despite protests against building
two full seasons in 1933 and 1934. Burn-
                                               on and commercializing the lakefront.
ham’s son, Daniel H. Burnham Jr. was the
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                                 EXHIBIT C




                                                                                    EXHIBIT C
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  E N C Y C L O P E D I A of C H I C A G O
                                                                                                                        HISTORICAL
                                                                                                    SEE ALSO             SOURCES
                                                                                               Architecture
   Entries | Historical Sources | Maps | Special Features                                      Entertaining Chicagoans
                                                                                               Tourism and Conventions
       SEARCH                              Full
                                                                                               Picnic Groves: Ogden's Grove
                                           List


                                            E N T R I E S        :   P L A C E S   O F   A S S E M B L Y


   P
       E N T R I E S
                                  Places of Assembly
    Places of                     An important element of Chicago's transformation from a small military outpost to a
    Assembly
                                  world city has been the creation and appropriation of space for assembly. As the city
   Next
                                  grew in population and sophistication, it required an increasing amount of space
                                  available for public ceremony, celebration, religious worship, association, protest, trade,
                                  recreation, and entertainment. Whetherin makeshift facilities, purpose-built structures,
                                  or open spaces, inhabitants and visitors have gathered as citizens, consumers, and
                                  members of various ethnic and religious groups.

                                                                   In Chicago's earliest days the community could not
                                                                   support permanent facilities designed solely for
                                                                   assembly. When a large-scale enterprise required an
                                                                   enclosed space it was forced to provide for itself. When
                                                                   the circus came to town in 1836, for example, it pitched
                                                                   a tent on Lake Street. Most gatherings in the 1830s, '40s,
                                                                   and '50s, from theatrical events to town meetings, found
                                                                   space in other types of buildings: hotels, taverns,
                                                                   churches, and what were known as office blocks. The
                                                                   precursor to the modern office building, this
                                            SALOON BUILDING        multipurpose structure, with stores on ground level and
                                  flexible space above, often housed a “hall” which occupied one or two floors and was
                                  available for rental. Fraternal organizations like the Odd Fellows, ethnic organizations
                                  like the German Turnverein, and religious groups like the Young Men's Christian
                                  Association often met in such spaces, which also served as sites for a variety of
                                  entertainments until dedicated theaters were built. The Saloon Building (1836–1871),
                                  located at Lake and Clark, offered the largest hall west of Buffalo for concerts, debates,
                                  dramatic performances, and political ceremony. In 1837, Chicago received its city
                                  charter under its roof and it served as city hall until 1842.

                                  With its new official civic status in mind, Chicago's commercial and political leaders
                                  began to think of necessary improvements. One of the features the new city lacked was
                                  public space where citizens could meet on common ground. Throughout the late 1830s
                                  and 1840s, Chicago dedicated plots of land to public functions, including a public
                                  square—the future site of the city hall and courthouse. Here Chicagoans gathered as
                                  citizens for both everyday functions and ceremonies of state: over 125,000 people
                                  gathered to view Abraham Lincoln's body on its way home for burial in 1865.

                                  Outside Chicago, churches, schoolhouses, county
                                  courthouses, and taverns and hotels like Stacy's Tavern
                                  in Glen Ellyn (1846) and the Garfield Farm Tavern in
                                  Geneva (1846) served the needs of small-town residents
                                  and farmers. At midcentury the city's surrounding
                                  counties operated agricultural fairs, starting with the
                                  Lake County Fair (1851) in Waukegan. These temporary
                                  places of assembly gathered people from great distances.

                                                                           Chicago's need for
                                                                           more substantial and         OLD FARWELL HALL, C.1880S
                                                                           permanent gathering
                                                                           places grew as the city began its long history as a site
                                                                           of political conventions. In 1860 business leaders
                                                                           underwrote the cost of a temporary wooden
                                                                           convention hall known as the “ Wigwam ” to attract
                                                                           the Republican National Convention. Democrats
                                                                           followed suit in 1864, constructing a semicircular
                                                                           roofed amphitheater for its own convention. Political
                                                  WIGWAM, 1860             conventions as well as other large gatherings also

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                                  found space in a new generation of theaters and halls, including Crosby's Opera House
                                  (1865) and the YMCA's Farwell Hall (1869), capable of holding 3,500 people. These
                                  buildings were swept away in the Great Fire of 1871.

                                  More permanent was the Interstate Industrial
                                  Exposition Building, the city's first convention
                                  center. Constructed by W. W. Boyington in 1872, the
                                  glass and metal building with ornamental domes was
                                  based on exposition buildings in London and New
                                  York and was designed to house annual displays of
                                  industrial manufactures. It served a variety of other
                                  functions, as an Illinois National Guard armory, the
                                  first home of the Chicago Symphony Orchestra, and
                                  the site of national political conventions in 1880 and
                                  1884, until it was razed in 1892 to make way for the INTERSTATE EXPOSITION BUILDING, 1880S
                                  Art Institute. Adler and Sullivan's Auditorium Building (1889), the site of the 1888
                                  Republican Convention, could hold up to 8,000 people for meetings and had the added
                                  convenience of a hotel with 400 guest rooms on the premises.

                                                                   A further addition to Chicago's growing supply of
                                                                   places of assembly was the Coliseum (1899–1983), a
                                                                   multipurpose meeting facility south of the Loop
                                                                   capable of holding 15,000 people, a size rivaled only by
                                                                   Madison Square Garden in New York. The site of
                                                                   numerous political conventions, it also hosted a wide
                                                                   variety of gatherings, including bowling tournaments,
                                                                   automobile shows, and, in 1926, both the World
                                                                   Eucharistic Congress and the first Chicago Blackhawks
                                                                   hockey game. Armories, built as bulwarks against the
                                             COLISEUM, 1908        labor unrest of the late nineteenth century, often
                                  functioned as public places of assembly after 1900. North Pier (Pugh Terminal) was
                                  constructed between 1905 and 1920 as an exhibition center for wholesale products, and,
                                  to its north, Municipal Pier (now Navy Pier ) made its debut in 1916 as a commercial
                                  and recreational center, with restaurants, a dance hall, and a huge auditorium.

                                  Although multipurpose halls in the Loop, including the
                                  new Orchestra Hall (1905), continued to be available
                                  for rental to voluntary associations at the turn of the
                                  century, ethnic and fraternal associations erected
                                  purpose-built structures for their assembly needs:
                                  Germans led the way with the elaborate Germania
                                  Club (1888), Poles built Pulaski Hall (1909), and
                                  Norwegians the Norske Club (1916). The Shriners built
                                  the city's most architecturally exotic place of assembly,
                                  the pseudo-Arabian Medinah Hall (1913), to host
                                  conventions, circuses, and concerts.                             MUNICIPAL PIER, 1916


                                  By 1890 regular rail service had spawned a ring of suburbs around the city. These
                                  centers required city halls and were able to support additional places of assembly,
                                  including public libraries like the Nichols Library in Naperville (1897), and, in the case
                                  of Woodstock, an opera house (1889) which sheltered both a library and city hall as well
                                  as an auditorium. When Ravinia was established in 1904 in Highland Park, it offered a
                                  baseball field and stands, a theater, a dining room, and picnic grounds.

                                                                      In the city's early years Chicagoans had used open
                                                                      spaces for their games, but as the city grew these
                                                                      were increasingly difficult to find. A major center
                                                                      for sporting activity and other gatherings, the South
                                                                      Side included Dexter Park, the racetrack and
                                                                      exhibition space owned by the Union Stock Yard
                                                                      Company, which hosted stock shows, trotting
                                                                      events, and, in 1870, the games of the Chicago
                                                                      White Stockings. Wanderer's Cricket Club had its
                                                                      own grounds on the South Side, first at 37th and
                                         DEXTER PARK INTERIOR, 1908   Indiana, moving to 71st and East End Avenue in
                                  1909. In addition to its own matches, the cricket grounds also hosted many public high-
                                  school football games. Marshall Field, the University of Chicago's campus stadium, was

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                                  completed by 1907. Renamed Stagg Field, after the university's famous coach, Amos
                                  Alonzo Stagg, in 1914, it served as the city's major football ground for nearly 20 years.

                                  Facilities for baseball multiplied as the game grew in popularity and became
                                  increasingly organized and professionalized. Seeking proximity to public transportation
                                  and cheap land, owners and managers of professional, minor league, and
                                  semiprofessional teams constructed ballparks across the city, moving frequently. Over
                                  more than 30 years the American League team played at six different sites on the West
                                  and South Sides. Minimal capital investment in the facilities, especially wood
                                  construction, made this mobility possible. Charles Comiskey, responding to an 1897 fire
                                  at New York's Polo Grounds, introduced an innovative concrete and steel stadium
                                  designed by Zachary Taylor Davis (1910). Davis was also responsible for the city's other
                                  perennial ballpark, Weeghman Field, constructed for the Chicago Whales, a Federal
                                  League club, in 1914. Located at Addison and Clark, this field was soon purchased by
                                  the Chicago Cubs and renamed Wrigley Field in 1926. As these “permanent” ballparks
                                  went up, the older ones were recycled for the use of other teams. The relocation of the
                                  White Stockings to Comiskey Park enabled Chicago's Negro League team, the American
                                  Giants, to purchase their old facility, South Side Park, located at 39th and Wentworth.
                                  Rechristened Schorling Park, it stood until 1940, when it was destroyed by fire. In an
                                  age of industrialization the names of these facilities, “park” and “field,” had
                                  intentionally pastoral connotations, offering urbanites a retreat from the grid of the city
                                  into a carpet of green grass.

                                                                       The city's parks, free and clear of development,
                                                                       were often the site of sporting events, and special
                                                                       facilities were constructed, like the Washington
                                                                       Park and Garfield Park Racetracks (1883, 1885)
                                                                       and the wooden Lake Front Baseball Field (1871,
                                                                       rebuilt 1883). Inspired by the combination of
                                                                       athletic, educational, and social facilities found in
                                                                       churches, YMCAs, synagogues, and settlement
                                                                       houses in the first decade of this century, public
                                                                       and private groups constructed neighborhood-
                                      WASHINGTON PARK RACE TRACK, 1903 based recreational facilities for urbanites. Several
                                  city parks were equipped with “park houses”: public social centers with assembly halls,
                                  club rooms, swimming pools, and other athletic amenities for the use of neighborhood
                                  residents. Under the direction of Chicago School Board architect Dwight Perkins, public
                                  schools such as Carl Schurz High School (1908–1910) on the city's Northwest Side and
                                  New Trier High School in Winnetka (1901) took on some of the same functions,
                                  designed with gymnasiums, auditoriums, and sports fields for the use of the whole
                                  community. These attempts by public and private institutions to provide wholesome
                                  recreation facilities were motivated by a desire to compete with a rising number of
                                  commercial places of assembly, including an increasing number of saloons,
                                  nickelodeons, movie palaces, and vaudeville houses.

                                  As part of a nationwide movement to erect community buildings as appropriate
                                  monuments to the dead of World War I, the Chicago Elks constructed the elaborate
                                  Elks National Memorial Building (1926). Increased demand for indoor meeting space
                                  was met by two structures (both 1928–29): the Civic Opera House and the Chicago
                                  Stadium. Traction magnate Samuel Insull presented one of the city's grandest meeting
                                  places, the Civic Opera House, in an innovative package, enclosing a 3,500-seat
                                  auditorium and a 900-seat theater inside a modern office building in the Loop. Less
                                  highbrow was the Stadium, as it was known, home to boxing, midget auto racing,
                                  political conventions, sports teams such as the Blackhawks and the Bulls, and musical
                                  performances of all kinds. Located on the Near West Side, the Stadium offered
                                  Chicagoans an alternative to the aging Coliseum.

                                                                                 In the 1920s the South Park Commission,
                                                                                 inspired by the construction of the Rose
                                                                                 Bowl (1922) and the LA Coliseum (1923)
                                                                                 and with an eye toward a bid for the
                                                                                 Olympics, began construction on one of
                                                                                 Chicago's greatest places of assembly,
                                                                                 Soldier Field. The reinforced concrete
                                                                                 structure cost more than $8 million and
                                                                                 held over 100,000 people, making it the
                                                                                 largest stadium of its day. Soldier Field

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                                             PROPOSAL FOR SOLDIER FIELD, N.D.    has hosted everything from Army–Navy
                                  games to a reenactment of the burning of Mrs. O'Leary's Barn. Another major site for
                                  football was added in this period: Northwestern University's Dyche Stadium (1926),
                                  home to Big Ten football games. A spurt of racetrack construction in suburban locations
                                  during this period responded to the repeal of the law against horse racing in Illinois,
                                  which had lasted from 1905 until 1922. The earliest, Aurora Downs (1923), offered
                                  harness racing. Arlington Park (1927), located 22 miles northwest of Chicago, was
                                  joined by Maywood Racetrack (1933) and Sportsman's Park in Cicero (1937).

                                  Although the Great Depression slowed building construction, several additions or
                                  transformation to the city's places of assembly were made in the 1930s. On the South
                                  Side the aging Dexter Park Racetrack, destroyed by fire, was replaced by the
                                  International Amphitheater (1934), an air-conditioned convention center with an
                                  attached hotel. It continued to host stock shows but also presented sports, ice shows,
                                  political conventions, and trade shows. In 1937, the 4,000-seat Chicago Arena, located
                                  in Streeterville, opened its doors for roller and ice skating, boxing, wrestling, and other
                                  sporting events. Government-sponsored Works Progress Administration projects such
                                  as Lane Technical High School's Football Field (1930) and the Civic Center at
                                  Hammond, Indiana (1938), provided work and additional facilities to help structure the
                                  increased leisure time of the American public.

                                  After World War II, the emphasis turned toward economic development. To keep
                                  Chicago in the forefront of the burgeoning convention industry, the Metropolitan Fair
                                  and Exposition Authority built McCormick Place in the late 1950s on a lakefront site in
                                  Burnham Park. When this burned in 1967 it was replaced with another building on the
                                  same site in 1971. Two additional buildings, located across Lake Shore Drive and linked
                                  by covered passageways, were later added to meet the expanding demand for
                                  convention space. Renovated in 1995, Navy Pier again became a meeting center and the
                                  site of concerts and recreational activities.

                                                                        The continuing importance of the city center as a place
                                                                        of assembly for all groups of the city's diverse
                                                                        population in postwar Chicago was marked by the
                                                                        design and use of civic space for ceremony, debate, and
                                                                        entertainment. Under Mayor Richard J. Daley the city
                                                                        received major new public, governmental spaces, most
                                                                        prominently the Daley Civic Center (1963–65), in the
                                                                        heart of the Loop. Adorned with a steel statue by Pablo
                                                                        Picasso, this space soon attained the status of the city's
                                                                        symbolic center, the site of the city Christmas tree and
                                     PICASSO SCULPTURE IN DALEY PLAZA   such ethnic events as the Filipino Independence Day
                                  Celebration.

                                  The city's park spaces continued to be active places of assembly. Grant Park served as
                                  the site of protest during the 1968 Democratic National Assembly and throughout the
                                  early 1970s as young people gathered to protest the war in Vietnam. The lakefront and
                                  the lake itself also provided a locus of recreation and celebration, hosting Chicagoans
                                  during annual festivities on Venetian Night and the Fourth of July.

                                                                           Throughout the postwar period, public officials,
                                                                           team owners, and private groups worked to
                                                                           upgrade Chicago's sports facilities. As other cities
                                                                           invested huge sums in new arenas and stadiums
                                                                           in the 1960s and '70s, Chicago facilities,
                                                                           especially Soldier Field and the Chicago Stadium,
                                                                           grew increasingly outdated in size and such
                                                                           amenities as the quantity and quality of luxury
                                                                           skyboxes. A major renovation in 2002–3
                                                                           upgraded Soldier Field's ambiance, with special
                                     PROTESTERS GATHER IN GRANT PARK, 1968 attention to skyboxes, but also transformed its
                                  facade with a controversial addition that towered above the classic colonnades. The
                                  Chicago Stadium was demolished in 1995.

                                  Although they do not live up to the ambitious plans proposed in the 1960s and '70s,
                                  three new sports and entertainment facilities were completed: the UIC Pavilion (1982),
                                  Comiskey Park (1991), and the United Center (1994). The University of Illinois at
                                  Chicago built its 100,000-square-foot center to house school sporting events as well as

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                                  concerts, theater, and conventions, providing an alternative to the Stadium close to the
                                  Loop. Older, urban centers like the Coliseum and International Amphitheatre found it
                                  increasingly difficult to compete with these new facilities, forcing the demolition of the
                                  Coliseum and the sale and closure of the Amphitheatre in the 1970s and '80s. The
                                  Rosemont Horizon (1980, renamed Allstate Arena in 1999), with almost 20,000 seats,
                                  was designed to house college basketball as well as concerts, drawing people from
                                  urban, suburban, and exurban locations.
                                  Paula R. Lupkin



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                                 EXHIBIT D




                                                                                    EXHIBIT D
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      Interstate Industrial Exposition Index


     About this collection                                                                                                       Recent Additions
      To demonstrate its recovery from the devastating fire of 1871 and to reclaim its role as a major commercial center,          Receive updates for this collection.
      the City of Chicago hosted the annual Chicago Interstate Industrial Exposition from 1873 to 1890. The investors—
      prominent Chicago businessmen including Potter Palmer, Cyrus H. McCormick and R. T. Crane—intended the
      exposition to highlight current manufactured goods across a very broad spectrum, such as brickmaking machines,
      carriages and wagons, fire extinguishers, and sewing and diamond-cutting machines. Many of the manufacturers
      and vendors were based in Chicago or had regional offices in the city.
      Designed by Chicago architect W.W. Boyington, the building itself was an enormous 200 x 800 feet, offering
      exhibition space for over 300 exhibitors. In an effort to cultivate cultural sophistication among Chicagoans, an art
      gallery was included within the building. The Fine Art Department, as it was known, was the only exhibit to be
      housed in a separate room, which measured approximately 20 x 120 feet and was prominently situated across from
      the main entrance and on axis with the central fountain. Initially, the gallery focused its exhibitions on contemporary
      American art, with selections influenced by the National Academy of Design in New York City. These eclectic
      displays also included “Indian curiosities,” sculpture, prints, “ornamental work,” and casts of the Elgin Marbles. Early
      iterations of the exposition featured paintings by predominantly American artists such as William Merritt Chase,
      Frederick Church, Lockwood de Forest, John Lafarge, as well as George Inness and Winslow Homer from an earlier
      generation. However, as American collectors began traveling and buying artworks in Europe and more American
      artists were studying in Europe, the exhibitions became increasingly international and cosmopolitan in content,
                                                                                                                                     "Catalogue of the              "Catalogue of
      including such artists as Henry Bacon, Bouguereau, Eakins, Hassam and Tissot. Most of these art exhibits were
      curated by Sara Hallowell, who would later work with Mrs. Potter Palmer to select art for the Women’s Building at the          first exhibition of            paintings statuary,
      World’s Columbian Exposition.                                                                                                  statuary, paintings,           etc. of the Art
                                                                                                                                     &c., opened May                Department in the
      Fittingly, the exposition hall was demolished in 1890 to be replaced by the building that would become the Art                 9th, in Burch's                Great North-
      Institute of Chicago, and the World’s Columbian Exposition of 1893 would come to embody the Interstate Industrial              Building"                      Western Fair : held
      Exposition’s core goals at a much larger and grander magnitude.                                                                                               in Chicago, Ill.,...
      Included in this collection is documentation derived from an index database created by Ms. Kirsten Jensen in the
      course of writing her thesis The American Salon: The Art Gallery at the Chicago Interstate Industrial exposition,
      1873-1890 (Ph.D. thesis submitted to The City University of New York, 2007). Jensen also created an index of two
      other early Chicago art exhibitions: the 1859 Chicago Exhibition of the Fine Arts held in Burch's Building, at the
      corner of Wabash and Lake; and the Great North-Western Sanitary Fair of 1865. Jensen later donated an electronic
      copy of this database to the Ryerson and Burnham Libraries which has since been converted to the searchable PDF
      documents found here. This index is a list of all known artworks exhibited throughout the course of these exhibits. In
      addition to title and normalized artist name, date, location, medium, and provenance is included when known. A list
      of abbreviations and relevant sources is also included in this collection as well as PDF scans of the original 1859
      and 1865 catalogs.



                                                                                                                                     Interstate                     Interstate
                                                                                                                                     Industrial                     Industrial
                                                                                                                                     Exposition Index,              Exposition Index,
                                                                                                                                     notes                          1873-1890




                                                                                                                                     Early Chicago
                                                                                                                                     exhibitions, 1859-
                                                                                                                                     1865




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                                 EXHIBIT E




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                                 EXHIBIT F




                                                                                    EXHIBIT F
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                                                     World’s Columbian Exposition? - Page
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                                                                                            271893
                                                                                                of World's Fair
                                                                                                   31 PageID    #:2545




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                                                   COLLECTING                   ABOUT                  
      What’s Left of the World’s                                                                                  Search ...        
      Columbian Exposition?
      By Scott | April 28th, 2018 | Categories: NEWS, VESTIGES | Tags: Jackson Park, Maine
      State Building, Museum of Science and Industry, Pabst Pavilion, Palace of Fine Arts, Statue of
      the Republic, Viking Ship, Wooded Island | 2 Comments
                                                                                                                 RECENT POSTS


                                                                                                                  The World’s
                                                                                                                   Fair in a Cup of
                                                                                                                   Cocoa

                                                                                                                  Chicago
                                                                                                                   Magazine
                                                                                                                   Recalls the
                                                                                                                   “Indecent
                                                                                                                   Undulations”
                                                                                                                   on the Midway
                                                                                                                   Plaisance

                                                                                                                  A Plan to Build
            “On its 125th birthday, what’s left from the 1893
                                                                                                                   Robert Burns’
            World’s Columbian Exposition?” asked the
                                                                                                                   Cottage at the
            Chicago Sun-Times this week.
                                                                                                                   1893 World’s
            They note four remnants: the Palace of Fine Arts                                                       Fair
            (rebuilt and now the Museum of Science and
                                                                                                                  University of
            Industry); the Wooded Island; an original ticket
                                                                                                                   Notre Dame
            booth now standing in Oak Park; and the 1918
                                                                                                                   will cover its
            “Golden Lady” statue, which is a reduced replica of
                                                                                                                   Christopher
            the original 65-foot “Big Mary” Statue of the
https://worldsfairchicago1893.com/2018/04/28/whats-left-of-the-worlds-columbian-exposition/                                             1/5
1/31/2019                          What’s Left of #:
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                                                      World’s Columbian Exposition? - Page
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                                                                                             281893
                                                                                                 of World's Fair
                                                                                                    31 PageID    #:2546
            Republic. Their map of Jackson Park, allowing you                                       Columbus
            to slide between 1893 and 2018, is a fun feature.                                       murals

            There are many more vestiges of the 1893 World’s                                       PICTURESQUE
            Fair—big and small—scattered around Chicagoland                                         WORLD’S
            and the world. We are working to create an                                              FAIR – The
            inventory of them and add them to our map of                                            Irish Village (p.
            WCE sites to see. Artifacts of the great Chicago fair                                   74)
            include the original the restored Viking Ship in
            Geneva, Illinois, the Pabst Pavilion in Milwaukee,                                     Louis Sullivan’s
            Wisconsin, and the Maine State Building re-erected                                      Transportation
            in Poland Springs, Maine.                                                               Building … in
                                                                                                    Green

                                                                                                   Jan. 24, 2019:
      Please share this post:                                                                       Sophia
            Twitter         Facebook        Google          Pocket         Pinterest 1
                                                                                                    Hayden’s Gold
                                                                                                    Medal To Be
                                                                                                    Auctioned
      Like this:

            Like                                                                                   “We will hardly
      Be the first to like this.                                                                    make fools of
                                                                                                    ourselves.”
                                                                                                    Carter
                                                                                                    Harrison’s Bid
                                                                                                    to Be the
            Share This Story, Choose                                                          World’s Fair
            Your Platform!                                                                       Mayor

                                                                                                   Pillars of the
                                                                                                    Fair: John Root
                                                                                                    and Henry
      About the Author: Scott                                                                       Codman

                                                                                                   Feb. 2, 2019:
                                                                                                    Potter & Potter
                                                                                                    Auctions to
                                                                                                    Offer
                                                                                                    Columbian
                                                                                                    Exposition
                                                                                                    Collectibles
https://worldsfairchicago1893.com/2018/04/28/whats-left-of-the-worlds-columbian-exposition/                               2/5
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                                 EXHIBIT G




                                                                                    EXHIBIT G
1/31/2019                                       Museum
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                                                   Filed:         and Industry
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  E N C Y C L O P E D I A of C H I C A G O                                                                      SEE ALSO                HISTORICAL
                                                                                                                                         SOURCES
                                                                                                           Chambers of Commerce
   Entries | Historical Sources | Maps | Special Features                                                  Leisure
                                                                                                           Museums in the Park
     SEARCH                                                              Full
                                                                                                           Rosenwald: Businessman/Philanthropist
                                                                         List


                              E N T R I E S       :   M U S E U M         O F     S C I E N C E        A N D      I N D U S T R Y


   M
       E N T R I E S
                                  Museum of Science and Industry
    Museum of                     The Museum of Science and Industry is one of the nation's oldest and largest
    Science and
                                  institutions devoted to the display and exploration of scientific and technological
    Industry
   Next
                                  advancements.

                                  Though a community effort, the museum owes its founding primarily to the vision and
                                  philanthropy of Julius Rosenwald, one of Chicago's wealthiest merchandisers. In 1911,
                                  while vacationing with his family in Germany, Rosenwald visited the Deutsches
                                  Museum in Munich, a museum that focused on industrial and scientific processes and
                                  promoted visitor participation with the exhibits. Repeated contacts with the museum's
                                  director convinced Rosenwald that Chicago should have such an institution. In 1921 he
                                  proposed the idea to the Commercial Club of Chicago. By 1926 the museum was
                                  incorporated, backed financially by a $3 million gift from Rosenwald and a city bond
                                  issue. At the time of his death in 1932, Rosenwald had contributed roughly $7 million in
                                  cash and stock donations.

                                  The museum chose as its location the former Palace of Fine Arts Building in Jackson
                                  Park, the last structure left from the World's Columbian Exposition of 1893 and former
                                  home of the Field Museum of Natural History. Vacant since 1920, the building required
                                  extensive renovation, which began in 1929. Working toward an opening coincident with
                                  Chicago's 1933 “A Century of Progress ” World's Fair, the museum received its first
                                  visitors in June of that year with 10 percent of its space readied for visitation. As
                                  attendance and exhibition space grew throughout the 1930s, so too did its financial
                                  troubles. By the end of the decade, expenditures greatly outpaced revenues,
                                  endangering the museum's future.

                                  A turning point in the direction and administration of the museum came in 1940, when
                                  the board of directors lured Major Lenox R. Lohr, the head of the National Broadcasting
                                  Company and former general manager of “A Century of Progress,” to its presidency.
                                  Lohr quickly restructured the museum's organization and focus. Instead of relying on
                                  traditional in-house design, execution, and upkeep of the exhibits, Lohr hoped to attract
                                  industry-sponsored displays through increased attendance. In exchange for
                                  construction and maintenance costs, the museum would allow the sponsor to advertise
                                  in the exhibit. Exhibit space would be allocated to 10 percent to historical achievement
                                  and 90 percent to the present. Lohr's plan proved successful, although exhibit
                                  renovation did not occur at the rate he had originally envisioned. His legacy remains
                                  visible through the sustained popularity of the museum.

                                  At the end of the twentieth century the museum's 350,000 square feet (approximately 8
                                  acres), it presents over 2,000 exhibits in many fields, including technology, agriculture,
                                  transportation, energy, and communications. Educating as it entertains, the museum
                                  promotes learning through interactive, hands-on participation between the visitor and
                                  the exhibitions. Featured attractions include a working replica of a coal mine, the U-505
                                  submarine, the Henry Crown Space Center, and Omnimax Theater. The museum began
                                  charging an admission fee in 1991. Nevertheless, attendance has remained high
                                  (approximately two million annually), ranking the Museum of Science and Industry as
                                  one of Chicago's premier tourist attractions and attesting to its role as an effective tool
                                  of mass education.

                                  Jonathan J. Keyes



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